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                             IN THE UNITED STATES DISTRICT COURT            ?flJ9            PM 3:33
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DWISION                     CLEcnC        C:T1CT COURI
                                               rq


Leila Green Little,    et al.,                 §                                          OrPtJT V

                                               §
      Plaintiffs,                              §
                                               §
              v.                               §    Civil Action No. 1 :22-cv-00424-RP
                                               §
Liano County,      etal.,                      §
                                               §
      Defendants.                              §
                                               §


                            PLAINTIFFS' REPLY IN SUPPORT OF THEIR
                            MOTION FOR PRELIMINARY INJUNCTION
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                                        INTRODUCTION

       In opposition to the abundant evidence that Defendants removed books from Liano

County libraries based on viewpoint discrimination, Defendants now assert that the books about

critical race theory, gender, and sexuality that appeared on their list of "pornographic filth" were

"weeded" pursuant to standard procedure. This story is a pretext, contradicted by Defendants'

sworn testimony, their contemporaneous notes and correspondence, and common sense. In any

event, Defendants' pretext also reflects viewpoint discrimination: Defendants admit that they

targeted books on their disfavored list for weeding based on complaints about the books' content.

Further, by their own admissions, Defendants did not follow their own "standard procedures":

they removed books that met none of their weeding criteria, further evidencing discriminatory

intent. Because Defendants' conduct is based on viewpoint discrimination, there is no viable

justification for it, nor do Defendants offer one.

        In the face of incontrovertible evidence of their viewpoint-based discrimination,

Defendants press two unavailing arguments. First, Defendants claim that they were free to

discriminate against books they do not like because libraries should be allowed to choose what

books to stock. This argument is foreclosed by Campbell v. St. Tammany Parish Sch. Bd., 64

F.3d 184 (5th Cir. 1995), which held that the government cannot remove books from libraries

simply because it disagrees with them. Second, Defendants claim that Plaintiffs can find the

banned books elsewhere. This is, at best, an unavailing voluntary cessation argument. Unless a

defendant can prove that there is absolutely no possibility of recurrence, having broken the law

once, they cannot be trusted to follow the law absent judicial relief. That is especially true here,

where Defendants are making shifting and inconsistent claims and hiding evidence of their

misconduct. Defendants' behavior underscores the necessity of the injunction Plaintiffs seek.
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                                            ARGUMENT

I.     PLAINTIFFS HAVE MADE A CLEAR SHOWING THAT DEFENDANTS HAVE
       ENGAGED IN VIEWPOINT DISCRITs'IINATION

       Because they understand that the First Amendment prohibits viewpoint discrimination,

Defendants' first claim is that they did not engage in it. Their story, however, is contradicted by

their own testimony and documents, and would not excuse their conduct even if believed.

        A.      Defendants Offer Contradictory and Pretextual Bases for Removing Books
                from the Library System Shelves

        The following facts are undisputed: (1) In sworn interrogatory responses and testimony,

Defendants admitted to removing In the Night Kitchen, It's Perfectly Normal, and the "butt" and

"fart" books from shelves because of "inappropriate content" (Decl. of Sarah Salomon

("Salomon Decl.") Exs.   1, 2   at 42:5-20, 43:2-12, 129:3-8, 17-23, &   3   at 46:10-47:4); (2) In early

November 2021, a pro-censorship group combed through the library catalog to determine which

Krause list books were available, because they believed those titles contained inappropriate

content related to sexuality, gender identity, and racial equality (Decl. of Amy Senia in Supp. of

Pis.' Mot. for Prelim. Jnj. ("Senia DecL"), ECF No. 22-10, Exs. 8, 22, 23; Salomon Dec!. Ex. 4

at 31:13-32:16, 40:21-41:4); (3) On November 10, 2021, Defendant Wallace sent a list of the

fifty-nine Krause list books available in the Library System to Defendant Cunningham and

others, labeling those books "pornographic filth" (Senia Decl. Ex. 7; Deci. of Amber Milum

("Milum Deci."), ECF No. 49-1, ¶ 12); (4) The same day, Defendant Cunningham forwarded the

list to Defendant Milum and ordered her to "pull[] immediately" "any and all books that depict

any type of sexual activity or questionable nudity"(Senia Decl. Ex. 7); (5) A few days later, at

least seven Krause list books had been pulled (Senia Deci. Exs. 6, 9, 23); and (6) Defendant




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Milum had hidden How to Be an Antiracist behind the front desk. (Salomon Deci. Ex. 2 at 74:13-

75:18.)

          Now, Defendants claim thatalthough they rounded the banned books up for review due

to complaints about their contentthey removed the books according to standard weeding

procedures. (Milum Deci.    9 6-8, 12-15; Decl. of Jerry Don Moss ("Moss Deci."), ECF No. 49-
3, ¶ 11.) As a threshold matter, Defendants cannot make this argument because they deliberately

obstructed discovery into these issues. (Salomon Deci. 9 9-12.) For example, they refused to

produce a list of books which remain in the Library System despite not having been checked out

for more than three years, a list that could be used to test whether Defendants followed their own

weeding policy. (Salomon Dccl. Ex. 2 at 3 1:21-32:1.) They have also refused to produce the list

of books removed from library shelves since March 2022. (Salomon Dccl. Ex. 2 at 33:1934:6.)1

          Moreover, Defendants' story does not stand up to scrutiny. Their declarations contradict

their sworn testimony and should be disregarded. See Doe ex rel. Doe    v.   Dallas Indep. Sch. Dist.,

220 F.3d 380, 386 (5th Cir. 2000) (A party "may not manufacture a genuine issue of material

fact by submitting an affidavit that impeaches prior testimony without explanation"). For

example, Defendant Milum claims she "was never instructed or pressured to weed or otherwise

permanently remove any books from the Llano County libraries." (Milum Dccl. ¶ 16.) She wrote

in a contemporaneous note, however, that Defendant Moss "told me that I should take [the butt

books] out of the system" (Salomon Deci. Ex. 5), and testified that Defendant Cunningham




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  Defendants' tactics were plainly intended to prevent full discovery into their conduct. For
example, they removed all the attachments from the emails they produced and converted the
emails to pdf format, stripping all metadata to prevent effectively examining them about what
they received, when, and from whom. (Salomon Dccl. 9 9-12.)
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directed her to remove books from library shelves because people found them offensive.

(SalomonDeci. Ex. 2 at 43:2-12.)

       Although Defendant Milum testified that a book should not be weeded based on a single

factor (Salomon Decl. Ex. 2 at 24:5-10), she could not identify more than one factor justifying

the weeding of any book that was removed. (Milum Dccl. ¶J 6-12.) Indeed, all but one3 were
                                                                2




"weeded" despite not meeting any criteria:

       Defendant Milum claims the "butt books" were weeded because "they were not being
       circulated sufficiently," but admits that they could not circulate because patrons who
       disapproved of the books "began to check [them] out repeatedly." (Milum Dccl. ¶ 6.)

       Defendant Milum, who purchased the "fart" books because she believed they had "value"
       for children, claims she preemptively weeded them because "they would not circulate
       sufficiently," but acknowledges that she deleted the infrom the system before they could
       ever circulate, in response to Defendant Cunningham 's direct request. (Salomon Dccl.
       Exs. 2 at 55:2-8, & 5; Milum Dccl. ¶ 7.)

       Defendant Milum asserts that in In the Night Kitchen was weeded because it "had been
       checked out only a little over once per year since. . 1999"which would not satisfy the
                                                             .


       criteria for weeding it in any eventbut admits that In the Night Kitchen was still in
       regular circulation and being checked out by patrons. (Milum Dccl. ¶ 8; Salomon Dccl.
       Ex. 2 at 130:21-131:1.

       Spinning, Gabi, a Girl in Pieces, Shine, and Caste have all been checked out multiple
       times in the past three yearsindeed, Shine was most recently checked out in July 2021,
       months before it was removed from shelves. (Senia Dccl. Ex. 6.)

       Caste had been checked out three times in the eleven months before it was removed. (Id)
       Although Defendant Milum now speculates that Caste was weeded due to damage, she
       testified there was "no record" of any damage. (Milum Dccl. ¶ 14; Salomon Dccl. Ex. 2
       at 92:7-11.)

       Contrary to Defendant Milum's assertion, It's Perfectly Normal, a non-fiction book, was
       not eligible for weeding because it had been checked out in the past five years. (Baker


2
  Although Defendant Milum now claims a book must be checked out multiple times per month
to avoid weeding, she previously testified that a book is weeded if it is not checked out "within
three years." (Salomon Dccl. Ex. 2 at 31:21-32:1.) Former Kingsland head librarian Suzette
Baker has confirmed that the rule for fiction books is three years, and for non-fiction books it is
five years. (Dccl. of Suzette Baker ("Baker Dccl.") ¶ 6.)
  Only one banned bookFreakboyarguably met a weeding factor. (Senia Dccl. Ex. 6.)



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       Deci. ¶ 11.) Defendants have admitted that It 's Perfectly Normal was removed due to
       inappropriate content. (See Moss Deci. ¶ 3; Senia Deci. Ex. 3.)

       Even though They Called Themselves the K.K.K. had low circulation, it is the only book
       in the Library System considering the history of the K.K.K, and thus ineligible for
       weeding. (Baker Deci. ¶ 14.)

       A mle must be "uniformly enforced" to "rebut" the inference that it is "pretextual," and

the "infrequent circulation" criteria has been anything but. Campbell v. St. TaninzanyPai Sch.

Bd., 231 F.3d 937, 941 (5th Cir. 2000). Defendant Milum openly admits that there are books on

the shelves that have not been checked out in over three years without being weeded. As

described above, Defendants refuse to produce that list. (Salomon Deci. Ex. 2 at 8 1:10-13,

84: 12-85:17.) Moreover, rounding up books because    of their viewpoint is not "standard weeding

procedure." (Salomon Decl. Ex. 2 at 67:15-17; Baker Deci. ¶ 7.) Even under Defendants'

pretextual explanation, they violated the First Amendment by targeting certain books due to

complaints regarding their content, and thereafter manufacturing a reason to pull them. "{O]nce

[Defendants'] justification has been eliminated, discrimination [is] the most likely alternative

explanation." Reeves v. Sanderson Plunibing Prods., Inc., 530 U.S. 133, 147-48 (2000).

       B.      Switching Electronic Providers in Response to this Lawsuit Does Not
               Extenuate Defendants' Viewpoint Discrimination

       Defendants do not deny that from Fall 2021 to May 9, 2022, the County had no access to

a digital catalog, and that Defendants took this overbroad step to prevent access to a single book:

Gender Queer. (Senia Decl. Exs. 11, 14; Decl. of Ron Cunningham ("Cunningham Decl."), ECF

No. 49-2, ¶J 7, 10.) Rather, Defendants complain that Plaintiffs are "pretend[ing]" the library's

new online service, Bibliotheca, does not exist. (Opp'n, ECF No. 49, at 5.) But Bibliotheca only

went live on May 9, 2022weeks after Plaintiffs filed this suit. (Cunningham Decl. ¶ 10;

Compi., ECF No. 1.) This is textbook voluntary cessation: Defendants cannot "evade sanction by
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predictable protestations of repentance and reform after a lawsuit is filed." Ctr. for Biological

Diversity, Inc.   v.   BPArn. Prod. Co., 704 F.3d 413, 425 (5th Cir. 2013) (citation omitted).

        Having a new online provider does not eliminate the need for an injunction because it

leaves Defendants free to resume their wrongful conduct. Meza             v.   Livingston, 607 F.3d 392, 399

decision ciarJled on denial of reh 'g, 2010 WL 6511727 (5th Cir. Oct. 19, 2010). Moreover,

Defendants are up to their old tricks. The Library Board has sought to exercise direct power over

removal decisions in at least the following ways: (1) instructing Defendant Milum to remove "all

of the young adult and junior books" from the initial book purchase list Defendants received

from Bibliotheca, due to a "concern about.       .   .   inappropriate content" (Salomon Decl. Exs. 4 at

114:4-10, 126: 12-15, 6 & 7)4; and (2) after Defendant Milum placed the initial Bibliotheca

purchase order, demanding that she remove additional books that weren't "right for [Liano

County's] demographics." (Salomon Dccl. Exs. 2 at 105:21-25 & 4 at 124:20-125:13.) If the

Library Board has been thwarted in these censorship efforts, it is only because "once the lawsuit

hit" it was placed "on hiatus." (Salomon Dccl. Ex. 4 at 68:3-12.) Absent court intervention,

Defendants will "revert to the offending conduct." Ctr. for Biological Diversity, 704 F.3d at 425.

II.     DEFENDANTS CANNOT JUSTIFY T11EIR VIEWPOINT DISCRIMINATION

        A.        The Discretion Afforded Librarians in Catalog Selection Decisions Does Not
                  Extend to Viewpoint-Based Censorship

        Defendants assert that their motivation in banning books "does not even matter." (Opp'n

at 12.) This argument may be slightly less Orwellian than the claim Defendants have elsewhere

advanced that their censorship is government speech (Mot. to Dismiss, ECF No. 42), but it is no

more correct. As set forth in greater detail in Plaintiffs' Opposition to the Motion to Dismiss




 This restriction is particularly perplexing, given that minors can't even access Bibliotheca and
so are not at risk of seeing "inappropriate content" there. (Cunningham Dccl. ¶ 10.)
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(ECF No. 50), the Fifth Circuit has held that under the First Amendment, government officials

"are prohibited from.. . remov[ing] books from       . .   .   library shelves 'simply because they dislike

the ideas contained in those books." Campbell, 64 F.3d at 188 (quoting Bd. ofEduc., Island

Trees Union Free Sc/i. Dist. No. 26 v. Pico, 457 U.S. 853, 857 (1982)); (see also Salomon Decl.

Ex.   3   at 34:20-35:16 (agreeing no book should "excluded because of race or nationality or the

political or religious views of the writer").)

           Citing the plurality opinion in United States       v.   Am. Libr. Ass 'ii Inc., 539 U.S. 194 (2003),

Defendants nevertheless claim they can censor books because libraries "have broad discretion to

decide what material to provide" as part of "making collection decisions." (Opp'n at 11.) But this

case does not concern collection decisions, it concerns renwval decisions plainly subject to First

Amendment scrutiny.5 Indeed, even if this case were about "discretion" in book selection,

Defendants would not be permitted to discriminate based on "viewpoint." See Arkansas Educ.

Television Comm 'n v. Forbes, 523 U.S: 666, 118          S. Ct. 1633       (1998).

           B.      Defendants Purported Alternative Means of Accessing the Books Do Not
                   Excuse Their Viewpoint Discrimination

           Defendants' main argument is that there is no issue here because Plaintiffs can access the

banned books through other sources. (Opp'n at 1-5.) Defendants did not begin offering these

"alternative sources" until after this lawsuit was filed. It would be an exaggeration to describe

Defendants' new solutions as voluntary cessation; but, needless to say, they do not obviate the

need for a preliminary injunction. Ctr. for BiologicalDiversily, 704 F.3d at 425. Moreover,



  The other cases cited by DefendantsCh/ras v. Miller, 432 F.3d 606 (5th Cir. 2005) and Egli
v. Chester Cnty. Libr. Sys., 394 F. Supp. 3d 497 (E.D. Pa. 2019)concern initial selection
decisions by a school board for its curriculum and by a library for its collection, respectively. As
such, they are inapposite. And Gay Guardian Newspaper v. Ohoopee Reg'lLibr. Sys., 235 F.
Supp. 2d 1362 (S.D. Ga. 2002), concerns the free literature table in the lobby outside a library,
an entirely different forum than that at issue here.



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because Defendants have refused to comply with discovery, they cannot claim they have only

censored these eleven books and "fix" the problem by providing those books alone.

       More fundamentally, First Amendment violations "cannot be justified by the fact that

there may be other.          .   .   circumstances for.   .   .   expression. The symbolic effect of removing the

[book].    .   .   is more significant than the resulting limitation of access to the story." Pratt v. Indep.

Sch. Dist. No. 831,        Forest Lake, Minn., 670 F.2d 771, 779 (8th Cir. 1982) (citations omitted); see

also Minarcini v. Strongsville City Sch. Dist., 541 F.2d 577, 582 (6th Cir. 1976) (The First

Amendment violation is "[not] minimized by the availability of the disputed book" elsewhere.)

          As Plaintiffs have explained, the effect of Defendants' misconduct goes far beyond the

removal of these eleven books. Defendants have transformed the public libraries from "place[s]

dedicated to quiet, to knowledge, and to beauty," Pico, 457 U.S. at 868, to partisan battlegrounds

where disagreement is suppressed. (Decl. of Rebecca Jones ("Jones Decl.") ¶ 5; Deci. of Leila

Green Little ("Little Deci.") ¶ 12; Deci. of Jeanne Puryear ("Puryear Deci.") ¶ 6.) This chilling

effect has only worsened since Defendants have begun providing pretextual explanations for

their censorship. (Decl. of Kathy Kennedy ("Kennedy Deci.") ¶ 6; Deci. of Diane Moster

("Moster Decl.") ¶ 6; Decl. of Cynthia Waring ("Waring Decl.") ¶ 8.) Defendants have refused

to provide discovery on the full scope of their activities, but it is now clear that they will go to

extreme lengths to conceal it. (Deci. of Richard Day ("Day Decl.") ¶ 8; Little Deci.                   ¶11   8-9.)

          To borrow Defendants' phrase, "matters get worse" as we move from law to facts. The

Supreme Court has given "the most exacting scrutiny to regulations that suppress, disadvantage,

or impose differential burdens upon speech because of its content." Turner Broadcasting, Inc.                        v.


FC.C., 512 U.S. 622, 641, 114                 S. Ct. 2445,        129L. Ed. 2d 497 (1994). Each of Defendants'

purported solutions does exactly that. First, Defendants rely on an anonymous donor who
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provided copies of certain banned books on July 21, 2022, eight months after they were pulled.

(Supp. Decl. of Amber Milum ("Milum Supp. Dccl."), ECF No. 53.) Defendants cannot mitigate

their First Amendment violation by creating a secret lending library where, if people somehow

discover it exists, they may be able to access certain of the banned books. Moreover, those nine

books are just the tip of the iceberg. Will this donor be a replenishing fount for all banned books,

whose titles Defendants refuse to reveal? And, as part of the library's nebulous "in-house

checkout" system, these books will not even be put on shelves, just somehow "made available"

for Plaintiffs. (Milum Supp. Decl. ¶ 10.) Prior to its mention in Defendants' Opposition,

Plaintiffs had never even heard of in-house checkout, nor had any of the librarians they asked

about it. (Little Decl. ¶ 5; Waring Dccl. ¶ 6; Day Decl. ¶ 6; Moster Dccl. ¶ 5; Jones Decl. ¶ 7;

Kennedy Dee!. ¶ 5; Puryear Dee!. ¶ 5.)

         Defendants next claim that Plaintiffs can access the banned books via Inter Library loans,

and that patrons are regularly informed of this option. (Milum Decl. ¶ 10.) None of the Plaintiffs

were informed of this solution when they sought to check out the banned books. (Little Decl. ¶ 3;

Waring Decl. ¶ 3; Day Dee!. ¶ 3; Moster Deel. ¶ 3; Jones Deel. ¶ 3; Kennedy Decl. ¶ 3; Puryear

Decl. ¶ 3.) Nor is it a real   solutiona patron must wait weeks prior to the book arriving and
must pay for postage. (Milum Dccl. ¶ 10.) Finally, Defendants claim that certain banned books

are available on Bibliotheca. (Opp'n at 3-4.) But Plaintiffs should not be forced, due to

Defendants' misconduct, to use c-readers where they would prefer to read a book in hardcopy.

(Day Dccl. ¶ 4; Puryear Dccl. ¶ 4; Moster Dccl. ¶ 4.) Crucially, Defendants' solutions only work

if"a patron knows in advance that she wants th[e] eleven specific titles" that were banned. Sund
v.   City of Wichita Falls,   Tex.,   121 F. Supp. 2d 530, 550 (N.D. Tex. 2000). It does nothing to
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assuage their legitimate suspicion that, as they "browse," still more books are missing from the

shelves due to censorship. Id.

III.   PLAINTIFFS HAVE MADE A CLEAR SHOWING OF IRREPARABLE HARM
       AND THE BALANCE OF THE EQUITIES

       Defendants claim Plaintiffs have not been irreparably harmed because they can check out

the banned books via alternative means and have access to Bibliotheca.6 (Opp'n at 14.) As

explained above, this is pure misdirection: Plaintiffs have described the chilling effects of

Defendants activities in detail. (Kennedy Decl. ¶ 6; Moster Deci. ¶ 6; Waring Deci. ¶ 8; Little

Deci. ¶11 8-9.) The "loss of First Amendment freedoms for even minimal periods of time

constitutes irreparable injury." Texans for Free Enter.   v.   Texas Ethics Comm 'n, 732 F.3d 535,

539 (5th Cir. 2013). And far from presenting "powerful evidence of harm to its interests,"

Opulent Life Church   v.   City ofHolly Springs, Miss., 697 F.3d 279, 297 (5th Cir. 2012),

Defendants have presented no evidence at all, forfeiting this factor. Finally, Defendants have no

"interest in administering [a regulation] in a way that violates federal law." Planned Parenthood

of Gulf Coast, Inc. v. Gee, 862 F.3d 445, 471 (5th Cir. 2017). But "injunctions protecting First

Amendment freedoms are always in the public interest." Texansfor Free Enter., 732 F.3d at 539.

                                           CONCLUSION

        In the face of unmistakable evidence of viewpoint discrimination, Defendants have

withheld evidence and offered a pretextual explanation that still incorporates viewpoint

discrimination. Plaintiffs respectfully ask the Court to grant the preliminary injunction.




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 Defendants also claim that the preliminary injunction Plaintiffs seek is overbroad because it
prevents them from weeding to make room for new purchases. (Opp'n at 14.) But the Library
System has not acquired a single new book since October 2021. (Little Decl. ¶ 7; Puryear Decl. ¶
6.)



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Dated: July 29, 2022               Respectfully submitted,




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                                CERTIFICATE OF SERVICE
       I hereby certify that on July 29, 2022, a true and conect copy of the foregoing document

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